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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

DANAE BROWN, AS EXECUTRIX OF
THE ESTATES OF ROBERT MOSS AND
BRENDA MOSS; AND AMANDA                            Case No.: 3:24-cv-00119
ANDREWS, ADMINISTRATOR OF THE
ESTATES OF CHARLES SAUNDERS
AND PEGGY SAUNDERS,

                 Plaintiffs,

vs.

MORGAN STANLEY SMITH BARNEY,
LLC,

                Defendant.

                                         COMPLAINT

                               STATEMENT OF THE PARTIES

       1.      The Plaintiff, Danae Brown, is the executrix of the Estates of Robert Moss and

Brenda Moss, her deceased parents. Danae Brown is a resident citizen of Lee County, Alabama

and is over the age of nineteen years.

       2.      The Plaintiff, Amanda Andrews, is the administrator of the Estates of Charles

Saunders and Peggy Saunders, her deceased parents. Amanda Andrews is a resident citizen of

Mobile County, Alabama and is over the age of nineteen years. The Plaintiffs will be referred to

as the Alabama Creditors.

       3.      The defendant, Morgan Stanley Smith Barney, LLC is wholly owned by Morgan

Stanley Capital Management, LLC, which is wholly owned by Morgan Stanley. Morgan Stanley

is a foreign corporation formed under the laws of Delaware. The Defendant will hereinafter be




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referred to as Morgan Stanley. Morgan Stanley may be served by serving its registered agent: CT

Corporation System, 2 North Jackson St., Suite 605, Montgomery, Alabama 36104.

                                             JURISDICTION

       4.      Jurisdiction is proper in the federal district court based upon diversity jurisdiction

as the Defendant is diverse from the Plaintiffs in this action and the amount in controversy

exceeds $75,000. 28 U.S.C. § 1332(a).

                                                  VENUE

        5.     Venue is proper in this Court as one of the plaintiffs are citizens within this

division of the United States District Court and all or substantially all of the wrongs complained

of occurred in this division of the United States District Court.

                                               FACTS

       6.      The Plaintiffs in this action are the judgment creditors of several defendants

arising from a judgment entered in the Circuit Court of Tallapoosa County, Alabama in the

original amount of $1,600,000 entered on January 26, 2015.

       7.      During judgment collections, the Plaintiffs obtained a judgment and an amended

judgment against Morgan Stanley under a “creditor’s bill” in the amount of $856,622.39. Those

documents are attached hereto and were numbered Documents 444 and 459 from the Circuit

Court of Tallapoosa County, Alabama.

       8.      The Morgan Stanley judgment obligated Morgan Stanley to pay over a sum of

money equal to the total amount of funds Morgan Stanley held in the name of the judgment

debtors in the Circuit Court of Tallapoosa County, Alabama.




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        9.      The Morgan Stanley judgment was entered after lengthy and protracted litigation

in the Circuit Court of Tallapoosa County, Alabama where the judgment debtors raised and

litigated claims of exemption to a final judgment adverse to them.

        10.     The amended Morgan Stanley judgment specifically stated that Rodney Dorand’s

claim of exemption as to retirement funds had been denied by the Court at Document 450.

        11.     After the Morgan Stanley judgment was entered, the Alabama Creditors, through

counsel, contacted Morgan Stanley’s department in charge of satisfying liens and judgments and

provided them with the Morgan Stanley judgment and the amended Morgan Stanley judgment.

        12.     The amended judgment was necessary because Morgan Stanley asserted that it

could not liquidate the judgment debtors’ retirement account without specific authorization from

the Circuit Court of Tallapoosa County, Alabama in the language of the judgment.

        13.     After the amended Morgan Stanley judgment was entered, Morgan Stanley,

through its employee Jessica Como, represented that Morgan Stanley would liquidate the

accounts and pay the judgment.

        14.     Those representations were false, and Morgan Stanley knew they were false when

made.

        15.     Instead, Morgan Stanley suppressed the truth of the matter that Morgan Stanley

had entered into a conspiracy with the judgment debtors to hold the funds in the judgment

debtor’s individual retirement account long enough for one of the judgment debtors to file for

bankruptcy in the Northern District of Florida.

        16.     In the Northern District of Florida, the judgment debtor, who had lost his claim of

exemption in the Circuit Court of Tallapoosa County, Alabama, was allowed to relitigate his

claim of exemption to the retirement funds in the Northern District of Florida Bankruptcy Court.




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       17.     The Northern District of Florida Bankruptcy Court did not give the Alabama

judgment full faith and credit and ruled contrary to the Circuit Court of Tallapoosa County,

Alabama that the funds were exempt.

       18.     The Alabama Creditors appealed that ruling to the Eleventh Circuit and oral

arguments are currently set of March 6, 2024.

       19.     Also, despite being granted a right of set-off in the amended judgment from the

Circuit Court of Tallapoosa County, Alabama, Morgan Stanley never took a position in the

Northern District of Florida that it was entitled to enforce the right of set off granted by the

Circuit Court of Tallapoosa County, Alabama to satisfy the judgment entered against Morgan

Stanley in Tallapoosa County, Alabama.

       20.     During the litigation between the judgment debtors and the Alabama Creditors

regarding the claim of exemption in the Florida Bankruptcy Court, Morgan Stanley was deposed

on March 2, 2022.

       21.     In that deposition, the Alabama Creditors learned for the first time that Morgan

Stanley had not withdrawn the funds from the IRA account of the judgment debtors prior to the

judgment debtor filing for bankruptcy in the Northern District of Florida.

       22.     On March 2, 2022, the Alabama Creditors were alerted by Morgan Stanley’s

30(b)(6) testimony that the representations and promises of Morgan Stanley’s employee in

judgment and lien satisfaction, Jessica Como, were false, fraudulent, and suppressed the actual

truth of Morgan Stanley’s actions to honor and abide by the amended Morgan Stanley judgment.

       23.     Because of Morgan Stanley’s misrepresentations and suppression of material

facts, the Alabama Creditors did not move to enforce their judgment prior to the judgment

debtor’s bankruptcy.




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       24.    Because Morgan Stanley suppressed the truth of its actions, i.e., that is did not

remove the funds from the judgment debtor’s IRA account prior to his bankruptcy filing, the

Alabama Creditors were lulled into a false belief that Morgan Stanley intended to obey the

judgment of the Circuit Court of Tallapoosa County, Alabama by the affirmative representations

of Morgan Stanley that it had liquidated the judgment debtors’ accounts.

       25.    There was no way that the Alabama Creditors could have discovered the falsity of

Morgan Stanley’s statements and Morgan Stanley’s misrepresentations until the deposition of

Morgan Stanley’s 30(b)(6) representative on March 2, 2022, in the bankruptcy litigation.

       26.    Because of Morgan Stanley’s misconduct, the Alabama Creditors incurred

hundreds of thousands of dollars relitigating the exemption question in the Northern District of

Florida bankruptcy court.

       27.    Because Morgan Stanley engaged in a conspiracy to deceive and defraud the

Alabama Creditors, they suffered economic damages and mental anguish associated with the

shock of learning that Morgan Stanley had actively assisted the judgment debtors in avoiding

collections. The Alabama Creditors were denied the benefits of the judgment, including the use

of the money and the interest on the money that should have been paid in obedience to the

amended Morgan Stanley judgment.

       28.    Morgan Stanley’s conduct was unfair, deceptive, and in violation of law.

       29.    The Alabama Creditors seek all damages allowed under the law.

                                        COUNT ONE

                                            FRAUD

       30.    After entry of the amended Morgan Stanley judgment, Morgan Stanley employees

represented to the Alabama Creditors, through their counsel, that Morgan Stanley was liquidating




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the judgment debtors’ accounts in accordance with the directions of the Circuit Court of

Tallapoosa County’s amended judgment.

       31.     These representations were material and the Alabama Creditors reasonably relied

upon these representations by forbearing enforcement and contempt proceedings against Morgan

Stanley.

       32.    The Alabama Creditors reliance was reasonable as the representations came from

employees in the judgment and lien satisfaction department of Morgan Stanley and were later

confirmed by Morgan Stanley’s counsel.

       33.    The Alabama Creditors were damaged by being forced to incur hundreds of

thousands of dollars to relitigate in the Northern District of Florida bankruptcy court. The

Alabama Creditors have lost the use of the money they are due under the judgment, including

interest thereon. The Alabama Creditors have experienced mental anguish arising from Morgan

Stanley’s misconduct including worry, anxiety, and upset over Morgan Stanley’s fraudulent

conduct.

       34.    The Alabama Creditors claim all damages allowed under the law for their injuries.

                                         COUNT TWO

                                       SUPPRESSION

       35.    At the aforesaid time and place, Morgan Stanley, through its employees, failed to

disclose that it would not liquidate the judgment debtors’ accounts in obedience to the amended

Morgan Stanley judgment.

       36.    The failure to disclose this fact was material. By failing to disclose this fact,

Morgan Stanley avoided a contempt proceeding in the Circuit Court of Tallapoosa County,

Alabama and caused the Alabama Creditors the losses they suffered by being forced to incur




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hundreds of thousands of dollars to relitigate in the Northern District of Florida bankruptcy

court. The Alabama Creditors have lost the use of the money they are due under the judgment,

including interest thereon. The Alabama Creditors have experienced mental anguish arising from

Morgan Stanley’s misconduct including worry, anxiety, and upset over Morgan Stanley’s

fraudulent conduct.

       37.    Morgan Stanley had a duty to disclose to the Alabama Creditors that Morgan

Stanley was not going to liquidate the judgment debtors’ accounts in obedience to the amended

Morgan Stanley judgment because of the circumstances of the case.

       38.    The Alabama Creditors suffered the injuries and damages detailed above

including being forced to incur hundreds of thousands of dollars to relitigate in the Northern

District of Florida bankruptcy court. The Alabama Creditors have lost the use of the money they

are due under the judgment, including interest thereon. The Alabama Creditors have experienced

mental anguish arising from Morgan Stanley’s misconduct including worry, anxiety, and upset

over Morgan Stanley’s fraudulent conduct.

       39.    The Alabama Creditors seek all damages allowed by law for injuries inflicted by

Morgan Stanley.

                                      COUNT THREE

       ENFORCEMENT OF THE AMENDED MORGAN STANLEY JUDGMENT

       40.    The Circuit Court of Tallapoosa County, Alabama entered the amended judgment

against Morgan Stanley on January 11, 2021, in the amount of $856,622.39.

       41.    The judgment became final and non-appealable 42 days after its entry.

       42.    Morgan Stanley never appealed the judgment of the Circuit Court of Tallapoosa

County, Alabama.




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       43.     To date, the judgment remains unpaid and is accruing legal interest.

       44.     Morgan Stanley owes the Alabama Creditors the full amount of the amended

Morgan Stanley judgment, plus all the accrued interest at the judgment rate of interest, plus the

costs of collections of the amended Morgan Stanley judgment.

       WHEREFORE, the Plaintiffs claim all damages allowable under law for the Defendants

wrongdoing including compensatory and punitive damages, legal interest, and the costs of this

action including reasonable attorney’s fees.


                                               Respectfully submitted,

                                               DANAE BROWN AS EXECUTRIX OF THE
                                               ESTATES OF ROBERT MOSS AND BRENDA
                                               MOSS, AND AMANDA ANDREWS,
                                               ADMINISTRATOR OF THE ESTATES OF
                                               CHARLES SAUNDERS AND PEGGY
                                               SAUNDERS


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